
PER CURIAM.
Coin Copies, Inc. [Coin Copies] appeals from a non-final order denying its motion to quash the purported service by publication pursuant to section 49.051, Florida Statutes (1983), undertaken by Financial Federal Savings &amp; Loan Association of Dade County. A review of the record reveals that a copy of the initial pleading was not mailed to Coin Copies along with the notice of action as required by section 49.-12, Florida Statutes (1983), and Florida Rule of Civil Procedure 1.070(f). Thus, the trial court erred in denying Coin Copies’ motion to quash. We therefore reverse the order and remand with directions to quash the service by publication.
Reversed and remanded with directions.
